          Case 2:08-cr-00376-WBS Document 410 Filed 05/21/12 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   RUSSELL L. CARLBERG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2748

 5

 6

 7                  IN THE UNITED STATES DISTRICT COURT

 8                FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-376 EJG
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        ORDER TO VACATE RESTITUTION
12        v.                       )        HEARING AND ENTER ORDER OF
                                   )        RESTITUTION
13   NICHE FORTUNE,                )
                                   )
14             Defendant.          )
     _____________________________ )
15

16                                STIPULATION

17        IT IS HEREBY stipulated between the United States of America

18   through its undersigned counsel, Russell L. Carlberg, and Michael

19   Long, Esq., counsel for defendant Niche Fortune, that the

20   restitution hearing scheduled for May 18, 2012, may be vacated,

21   and that an order of restitution be entered, to wit:

22        1.   Restitution in the amount of $47,575 jointly and

23             severally with co-defendant Kesha Haynie and

24        Christopher Chiavola, payable as follows to:

25                  CitiMortgage, Inc.,
                    Attn: Payoffs, 4740 121st Street
26                  Urbandale, IA 50323
                    Re: Loan # 0730054897, payee code 90N36
27
          2.   Restitution in the amount of $60,880, jointly and
28
                                        1
           Case 2:08-cr-00376-WBS Document 410 Filed 05/21/12 Page 2 of 3


 1               severally with co-defendant Kesha Haynie, Christopher

 2               Chiavola, payable as follows to:

 3                    JP Morgan Chase & Co.
                      Fraud Recovery Investigations
 4                    081-0612
                      1111 Polaris Parkway
 5                    Columbus, OH 43240-2050
                      Re: Loan #0730055019
 6

 7         THEREFORE, the parties stipulate and agree that Niche

 8   Fortune shall pay restitution jointly and severally with Kesha

 9   Haynie and Christopher Chiavola, in the amount of $108,455,

10   payment to begin immediately.      Restitution is to be sent to the

11   Clerk of the Court, who shall forward it to the victim(s) as

12   described in the Victim Impact Section.       Co-defendant Anthony

13   Symmes has been ordered separately to forfeit $4,000,000.          To the

14   extent that the above victim is made whole via the payment of

15   forfeited funds, then the above liability of the defendant would

16   be satisfied. If incarcerated, payment of the restitution is due

17   during imprisonment at the rate of not less than $25 per quarter

18   and payment shall be through the Bureau of Prisons Inmate

19   Financial   Responsibility Program.      The interest is waived.

20   DATE: May 17, 2012                BENJAMIN B. WAGNER
                                            United States Attorney
21
                                        By:    /s/ Russell L. Carlberg______
22                                            Russell L. Carlberg
                                              Assistant U.S. Attorney
23

24                                                  /s/*
                                              MICHAEL LONG
25                                            Attorney for Defendant
                                              NICHE FORTUNE
26
     ///
27
     ///
28
                                         2
          Case 2:08-cr-00376-WBS Document 410 Filed 05/21/12 Page 3 of 3


 1                                    ORDER

 2   IT IS SO ORDERED.

 3                                    /s/ Edward J. Garcia
     Dated: May 18, 2012
 4                                    HON. EDWARD J. GARCIA
                                      United States District Judge
 5

 6
     * Signed with permission
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                        3
